     Case 1:09-cv-00430-AWI-EPG Document 15 Filed 04/22/09 Page 1 of 3


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10   Attorneys for Defendant, DAIRY AMERICA, INC.
11

12                               UNITED STATES DISTRICT COURT
13                              EASTERN DISTRICT OF CALIFORNIA
14

15   GERALD CARLIN, JOHN RAHM, PAUL      )              Case No.: 1:09-CV-00430-AWI-DLB
     ROZWADOWSKI and BRIAN WOLFE,        )
16   individually and on behalf of themselves and
                                         )
     all others similarly situated,      )              STIPULATION OF COUNSEL
17                                       )              EXTENDING THE TIME FOR
                          Plaintiffs,    )              RESPONSE TO COMPLAINT BY
18                                       )              DEFENDANT DAIRY AMERICA, INC.
                 v.                      )
19                                       )
     DAIRY AMERICA, INC., and CALIFORNIA )
20   DAIRIES, INC.,                      )
                                         )
21                     Defendants.       )
                                         )
22

23          Pursuant to Rule 6-144(a) of the General Local Rules of the above Court,
24   Plaintiffs GERALD CARLIN, JOHN RAHM, PAUL ROZWADOWSKI and BRIAN WOLFE,
25   individually and on behalf of themselves and all others similarly situated, and Defendant DAIRY
26   AMERICA, INC. (“Defendant”), by and through their respective attorneys of record, hereby
27   stipulate that Defendant shall have until June 2, 2009, to respond to the Amended Class Action
28                                                  1
           STIPULATION OF COUNSEL EXTENDING THE TIME FOR RESPONSE TO COMPLAINT BY
                               DEFENDANT DAIRY AMERICA, INC.
     Case 1:09-cv-00430-AWI-EPG Document 15 Filed 04/22/09 Page 2 of 3


 1   Complaint herein. There have been no prior extensions of time granted to Defendant to respond

 2   to the Amended Class Action Complaint in this case.

 3                  The parties who have signed below to indicate their agreement are the only parties

 4    who have appeared to date in this action or are affected by this stipulation to extend time.

 5           DATED: April 17, 2009.
 6                                                 COHEN, MILSTEIN, SELLERS & TOLL,
                                                   PLLC
 7

 8                                                 By_/s/ Benjamin D. Brown (as authorized on        )
                                                   Benjamin D. Brown
 9                                                 Victoria S. Nugent
                                                   George F. Farah
10
                                                   BERMAN DeVALERIO
11                                                 Joseph J. Tabacco, Jr.
                                                   Christopher T. Heffelfinger
12                                                 Anthony D. Philips
13                                                 Attorneys for Plaintiffs, GERALD CARLIN, JOHN
                                                   RAHM, PAUL ROZWADOWSKI and BRIAN
14                                                 WOLFE, individually and on behalf of themselves
                                                   and all others similarly situated.
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            STIPULATION OF COUNSEL EXTENDING THE TIME FOR RESPONSE TO COMPLAINT BY
                                DEFENDANT DAIRY AMERICA, INC.
     Case 1:09-cv-00430-AWI-EPG Document 15 Filed 04/22/09 Page 3 of 3


 1            DATED: April 17, 2009.
                                           Respectfully Submitted,
 2

 3                                         BAKER MANOCK & JENSEN, PC
 4

 5                                         By__/s/ Kendall L. Manock________
                                           Kendall L. Manock
 6                                         Charles K. Manock
                                           Christopher D. Bell
 7
                                           OBER KALER
 8                                         Charles M. English
                                           Wendy M. Yoviene
 9
                                           Attorneys for Defendant, DAIRY AMERICA, INC.
10

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12   IT IS SO ORDERED.
13
      DATED: 22 April 2009                 ___/s/ Dennis L. Beck_________________
14                                         UNITED STATES MAGISTRATE JUDGE
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            STIPULATION OF COUNSEL EXTENDING THE TIME FOR RESPONSE TO COMPLAINT BY
                                DEFENDANT DAIRY AMERICA, INC.
